 Case: 1:17-md-02804-DAP Doc #: 1893-7 Filed: 07/19/19 1 of 1. PageID #: 70472




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


IN RE NATIONAL PRESCRIPTION                      MDL No. 2804
OPIATE LITIGATION                                Case No. 17-md-2804
                                                 Judge Dan Aaron Polster


This document relates to:
The County of Cuyahoga v. Purdue
Pharma L.P., et al., Case No. 17-OP-45004

The County of Summit, Ohio, et al. v.
Purdue Pharma L.P. et al., Case No. 18-OP-
45090



[PROPOSED] ORDER GRANTING MANUFACTURER DEFENDANTS’ MOTION FOR
     SUMMARY JUDGMENT ON PLAINTIFFS’ PUBLIC NUISANCE CLAIMS

        Upon consideration of Manufacturer Defendants’ Motion for Summary Judgment on

 Plaintiffs’ Public Nuisance Claims and any opposition thereto, it is hereby:

        ORDERED that Manufacturer Defendants’ Motion for Summary Judgment on

 Plaintiffs’ Public Nuisance Claims is GRANTED.

        Plaintiffs’ absolute common law public nuisance claim and statutory public nuisance

 claim against the Manufacturer Defendants in each of the above-captioned actions are

 DISMISSED WITH PREJUDICE.



                                                                Hon. Dan A. Polster
                                                              United States District Judge
